Case 4:20-cv-03919-CW Document594_ Filed 01/10/25 Pageiofi1

mM Gm ail c L Keaton Rice <keaton.a.rice@gmail.com>
Oppose Roster Limits JAN 10 EP Z025

CLERK, U.S. 3
Keaton Rice <keaton.a.rice@gmail.com> NORTHERN DA eee A Sat, Dec 28 at 8:32PM

To: Keaton Rice <keaton.a.rice@gmail.com>

My name is Keaton Rice and my permanent address is 5117 Deerfield Dr. Edmond OK 73034.
My NCAA ID number is 2112401132 and | would like to oppose roster limits in re College Athlete
NIL Litigation Case No. 4:20-cv-03919-CW (N.D. Cal.)

*these roster limits are unfair for the student athletes that are currently participating in college
sports. Despite having a 4 year athletic scholarship that Auburn University would have to
honor, i would still lose roughly $30,000 a year which is needed to cover the $59,000 out of
state price tag for attending my school... Half of the men’s swimming and diving team would be
released which would terminate the $6000 annual scholarship the NCAA gives each of us. We
would also lose the free dining plan and free healthcare we receive for being an athlete. There
are many other monetary perks that we would lose for no longer being on the team: free
tutoring and tickets to all sporting events are just a couple.

*For me to remain at Auburn University after being released from the team (| am a freshman
and they would need to cut 20 men so | am sure to go) it would cost my parents almost
$40,000 a year which we would not have committed to if we’d known there was a chance |
could be released from the team. Since | have a 4 year contract that was never a possibility
before. ALSO, we already have a lease agreement for housing next year and my parents are
co-signers.

*it is too late for me to enter the portal and find another school but it is cost prohibitive to
remain without all the financial benefits of being an athlete.

*you must consider the thousands of us that will be in the same position and allow us to be
“grandfathered in” since we made decisions for our future based on circumstances that were
previously set in stone!

Thank you for your consideration,
[Quoted text hidden]

Gat hice
NCAA# 2112 401132
